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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA             :   Criminal No.: 1:15-CR-223, 1:21-cr-100
                                     :
                                     :
            v.                       :
                                     :
                                     :
JOAN CICCHIELLO,                     :
             Defendant               :



                                 ORDER

       The defendant having appeared before the undersigned and having waived a

preliminary hearing, (Rule 32.1 Federal Rules of Criminal Procedure),

        IT IS ORDERED that the defendant shall be held for a final revocation

hearing scheduled before Judge Christopher C. Conner, February 7, 2024 at 11:00

a.m., in courtroom 7A, Sylvia H. Rambo, United States Courthouse, 1501 North 6th

Street, Harrisburg, PA.

       The defendant’s custody is ORDERED pursuant to 18 U.S.C. § 3143, Rule

32.1 and Rule 46.



                                            s/Martin C. Carlson
                                            Martin C. Carlson
                                            United States Magistrate Judge
Dated: February 7, 2024
